Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 1 of 61




     EXHIBIT A
       Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 2 of 61                              10/1/201912:08 PM
                                                                                 Marilyn Burgess - District Clerk Harris County
                                                                                                      Envelope No. 37275432
                             2019-71794 / Court: 165                                                          By: Nelson Cuero
                                                                                                   Filed: 10/1/201912:08 PM

                                        No.: _ _ _ _ _ _ __


 Muhammad Kamran and Zakia Kamran                   §                         In the District Court of
                                                    §
 vs.                                                §                            Harris County, Texas
                                                    §
 Inspectorate America Corp. and Eagle Ship          §




                                                                                   k
                                                                                ler
 Management, LLC                                    §                         _ _ _ Judicial District




                                                                             tC
               Plaintiffs' Original Petition, Jury Demand and Request for Disclosure




                                                                         ric
                                                                      ist
         COME NOW Plaintiffs, Muhammad Kamran and Zakia Kamran, complaining of




                                                                   sD
Defendants, Inspectorate America Corp. and Eagle Ship Management, LLC, and for cause of action




                                                               es
would show as follows:



                                                            rg
1. Discovery Level
                                                        Bu
                                                        n
         1.1      Plaintiffs intend to conduct discovery in this matter under Level 3 of Rule 190 of the
                                                   ily
                                                ar


Texas Rules of Civil Procedure. Per Texas Rule of Civil Procedure 47(c)(5), Plaintiffs seek an
                                            M




amount exceeding $1,000,000.00.
                                          of
                                       e




2. Parties
                                   ffic




         2.1 Plaintiff, Muhammad Kamran, is a citizen and resident of Harris County, Texas.
                             y O




         2.2 Plaintiff, Zakia Kamran, is a citizen and resident of Harris County, Texas.
                          op
                       C




         2.3 Defendant, Inspectorate America Corp. ("Inspectorate"), is a corporation with its
                    ial




principal place of business in Harris County, Texas and may be served by serving its registered agent,
                 fic
               of




CT Corporation System at 1999 Bryan St., Suite 900, Dallas, TX 75201-3136.
         Un




         2.4 Defendant, Eagle Ship Management, LLC ("Eagle Ship"), is a limited liability company

and may be served by serving its registered agent, Corporation Service Company at 50 Weston

Street, Hartford, CT 06120-1537.




                                                                                                     Page 1
     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 3 of 61




3. Venue

        3.1 Venue is proper in Harris County, Texas, because all or a substantial part of the events

giving rise to this claim occurred in Harris County, Texas.

4. Background Facts and Legal Claims




                                                                                    k
                                                                                 ler
        4.1 On or about June 24, 2019, Mr. Kamran was working aboard the M.V. Imperial Eagle, in




                                                                              tC
Harris County, Texas, at the Port of Houston, Woodhouse Dock #4, performing a bunker quantity




                                                                          ric
                                                                       ist
survey job.   The Job Number of the job in question was SKK1906030. At that time, the M.V.




                                                                    sD
Imperial Eagle was laside Bunker Barge Shamrock 502. Mr. Kamran needed to transfer from the




                                                                es
M.V. Imperial Eagle to the Shamrock 502. The only available means of doing so on the M.V.



                                                              rg
                                                         Bu
Imperial Eagle was by a rope ladder hanging over the upper railing. As Mr. Kamran attempted to
                                                      n
use this ladder, he fell to the deck of the barge, sustaining catastrophic injuries.
                                                   ily
                                                ar


        4.2 Nothing Mr. Kamran did, or failed to do, caused the occurrence in question. To the
                                            M




contrary, the occurrence in question was proximately caused by the negligence and gross negligence
                                          of
                                       e




of the Defendants.
                                  ffic




        4.3 Defendant Inspectorate employed Mr. Kamran before and at the time of the incident in
                            y  O




question. Mr. Kamran performed the job in question as an employee of Inspectorate. Before and at
                         op
                      C




the time of the incident in question, Mr. Kamran was in the service of Inspectorate with the
                  ial




understanding, express and/or implied, that Inspectorate had the right to direct the details of Mr.
               fic
              of




Kamran's work and not merely the result to be accomplished.
        Un




        4.4 In connection with the job in question, Mr. Kamran signed multiple documents on

behalf of Defendant Inspectorate, including but not limited to time logs, vessel measurement

reports, bunker barge ullage reports, and sample receipt and distribution reports.       Defendant




                                                                                             Page 2
        Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 4 of 61




Inspectorate authorized Mr. Kamran to execute such materials on its behalf as its employee, and

ratified and submitted these documents containing these representations to others in connection

with the job in question, including the Chief Engineer of the M/V Eagle, and was paid based in part

on these representations.




                                                                                     k
                                                                                  ler
          4.5 Defendant Inspectorate failed to secure payment of compensation as required by 33 USC




                                                                               tC
905(a), and Plaintiffs elect to maintain this action for damages on account of injuries sustained by




                                                                           ric
                                                                        ist
Mr. Kamran as a result of the incident in question. In this action, per 33 USC 905(a), Defendant




                                                                     sD
Inspectorate may not plead as a defense that the injury was due to the contributory negligence of




                                                                  es
Mr. Kamran.



                                                              rg
                                                          Bu
          4.6 Inspectorate was negligent which was a proximate cause of the incident in question.
                                                       n
Such negligence includes, but is not limited to, the following:
                                                    ily
                                                 ar


    •     Failing to provide Mr. Kamran with a safe place to work;
                                             M




    •     Failing to provide Mr. Kamran with the means and equipment to do his job safely;
                                           of
                                        e




    •     Failing to properly train Mr. Kamran on how to do his job safely;
                                    ffic




    •     Failing to properly supervise Mr. Kamran concerning safe work;
                              y O




    •     Failing to train Mr. Kamran on safely transferring between and/ or off of vessels;
                           op
                         C




    •     Failing to provide Mr. Kamran with means and equipment to safely transfer between and/ or
                    ial




          off vessels;
                 fic
              of




    •     Violating 29 U.s.c. 1915.74 in failing to provide safe access to vessels afloat, safe access to
          Un




          barges, and a safe Jacob's ladder, which constitutes negligence per se (plaintiffs hereby invoke

          the "Pennsylvania Rule" based on the violation of these regulations);




                                                                                                    Page 3
        Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 5 of 61




    •     Violating 29 U.s.c. 1918.23 in failing to provide a safe Jacob's ladder and in failing to

          provide suitable protection, including but not limited to a safety harness and other

          appropriate fall protection means and equipment, which constitutes negligence per se

          (plaintiffs hereby invoke the "Pennsylvania Rule" based on the violation of these




                                                                                     k
                                                                                  ler
          regulations) ;




                                                                               tC
    •     Violating 49 CFR 96.40-1, which constitutes negligence per se (plaintiffs hereby invoke the




                                                                           ric
                                                                        ist
          "Pennsylvania Rule" based on the violation of these regulations); and




                                                                     sD
    •     Violating other applicable rules and regulations, which constitutes negligence per se (plaintiffs




                                                                 es
          hereby invoke the "Pennsylvania Rule" based on the violation of these regulations).



                                                              rg
                                                          Bu
          4.7 Defendant Eagle Ship was negligent per 33 USC 905(b) in (1) turning its vessel over in a
                                                       n
dangerous condition, including but not limited to providing a defective rope ladder, improperly
                                                    ily
                                                 ar


rigging and setting up the rope ladder, not providing a safety harness or any fall protection, and not
                                             M




providing access to the gangway, (2) retaining control over part of the operation in question, and (3)
                                           of
                                        e




failing to intervene in the operation in question, each of which was a proximate cause of the incident
                                    ffic




in question.
                              y O




          4.8 Defendants Inspectorate America Corp. and Eagle Ship Management, LLC, were grossly
                           op
                           C




negligent and acted with malice, as that term is understood under Texas law, and such conduct was a
                    ial




proximate cause of Plaintiffs' injuries. Defendant's malicious and grossly negligent conduct justifies
                 fic
               of




the imposition of punitive and exemplary damages both as punishment of Defendants and their
          Un




callous disregard for the safety of individuals such as Muhammad Kamran and Zakia Kamran.

Plaintiffs therefore asks for punitive and exemplary damages in addition to all actual damages.




                                                                                                      Page 4
     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 6 of 61




        4.9 Plaintiffs reserve the right to request relief for spoliation of evidence to the extent

Defendants destroyed and/or failed to preserve all relevant evidence, including video evidence as

well as all relevant physical evidence to include the ladder in question.

        4.10 By virtue of the actions and conduct of Defendants as set forth above, Mr. Kamran has




                                                                                   k
                                                                                ler
suffered severe bodily injuries and damages. By reason of those injuries and the damages flowing in




                                                                             tC
law therefrom, this suit is maintained. Because of the nature and severity of the injuries sustained,




                                                                         ric
                                                                      ist
Mr. Kamran has suffered physical pain and mental anguish and in reasonable probability will




                                                                   sD
continue to suffer physical pain and mental anguish in the future. He has and will continue to suffer




                                                               es
physical impairment and disfigurement. Because of the action and conduct of Defendants herein,



                                                            rg
                                                        Bu
Mr. Kamran has sustained very painful and disabling physical injuries that have caused him to
                                                     n
sustain a loss of earnings and wage earning capacity in the past, and this condition will, in all
                                                  ily
                                               ar


probability, continue for some time into the future.       Because of the nature and severity of the
                                            M




injuries Mr. Kamran sustained, he has required medical treatment in the past, and in reasonable
                                         of
                                      e




probability be made in the future have been and will be reasonable charges made necessary by the
                                  ffic




occurrence in question.
                             yO




        4.11 Based on the catastrophic injuries sustained by Mr. Kamran at the time or the incident,
                          op
                      C




Zakia Kamran has sustained a loss of household services in the past and will suffer a continuing loss
                  ial




of household services in to the future.        In addition, Zakia Kamran has sustained a loss of
               fic
            of




consortium in the past, and will suffer a continuing loss of consortium in the future.
        Un




5. Pre- and Post-Judgment Interest

        5.1 Plaintiffs would additionally say and show that they are entitled to recovery of

prejudgment interest in accordance with law and equity as part of his damages herein, and Plaintiffs




                                                                                              Page 5
     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 7 of 61




here and now sue for recovery of prejudgment interest as provided by law and equity, under the

applicable provisions of the laws of the State of Texas.

6. Jury Demand and Request for Disclosures

        6.1 Plaintiffs hereby request a trial by jury.




                                                                                    k
                                                                                 ler
        6.2 Plaintiffs also request that Defendants submit Responses to Disclosures.




                                                                              tC
7. Conclusion and Prayer




                                                                          ric
                                                                       ist
        WHEREFORE, PREMISES CONSIDERED, Plaintiffs request that Defendants be cited to




                                                                    sD
appear and answer, and that on final trial Plaintiffs have: (1) judgment against Defendants, for




                                                                es
actual, compensatory and exemplary damages in accordance with the evidence; (2) pre-judgment and



                                                             rg
                                                         Bu
post-judgment interest as provided by law; (3) costs of court; (4) attorney's fees; and (5) such other
                                                         n
and further relief, general and special, to which Plaintiffs may show themselves justly entitled at law
                                                    ily
                                                 ar


and in equity.
                                             M




                                                  Respectfully submitted,
                                          of
                                       e




                                                  VB Attorneys
                                   ffic




                                                  IsIVuk VZf,iasinovic
                               O




                                                  Vuk Vujasinovic
                            y




                                                  Vuk@vbattorneys.com
                         op




                                                  State Bar No. 00794800
                      C




                                                  Job Tennant
                                                  J ob@vbattorneys.com
                    ial




                                                  State Bar No. 24106501
                 fic




                                                  6363 Woodway Dr., Suite 400
            of




                                                  Houston, Texas 77057
        Un




                                                  713/224-7800 (Office)
                                                  713/224-7801 (Facsimile)
                                                  Attorneysfor Plaintiffs




                                                                                                Page 6
     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 8 of 61 10/23/2019 11:45 AM
                                                                                    Marilyn Burgess - District Clerk Harris County
                                                                                                         Envelope No. 37890466
                                                                                                                  By: Adiliani Solis
                                                                                                     Filed: 10/23/2019 11:45 AM

                                             No.: 2019-71794
                                                    
 Muhammad Kamran and Zakia Kamran                  §                        In the District Court of
                                                   §                                                           
 vs.                                              §                        Harris County, Texas
                                                   §                                                           
 Inspectorate America Corp., Eagle Ship        §                                                           




                                                                                    P
                                                                                 QJW
 Management LLC, andSFKInc.d/b/aSKK          §                        165th Judicial District
 Marine                                                 




                                                                              Y(
        Plaintiffs’ First Amended Petition, Jury Demand and Request for Disclosure




                                                                          WNH
                                                
        COME NOW Plaintiffs, Muhammad Kamran and Zakia Kamran, complaining of




                                                                       NXY
                                                                    X)
Defendants, Inspectorate America Corp., Eagle Ship Management LLC, and SFK Inc. d/b/a SKK




                                                                 JX
Marine, and for cause of action would show as follows:



                                                              WL
1. Discovery Level
                                                         'Z
                                                         S
        1.1     Plaintiffs intend to conductdiscoveryinthismatterunderLevel3ofRule190ofthe
                                                   NQ^
                                                FW


Texas Rules of Civil Procedure. Per Texas Rule of Civil Procedure 47(c)(5), Plaintiffs seek an
                                            2




amount exceeding $1,000,000.00.
                                         TK
                                       J




2. Parties
                                  KKNH




        2.1 Plaintiff, Muhammad Kamran, is a citizen and resident of Harris County, Texas.
                            ^  4




        2.2 Plaintiff, Zakia Kamran, is a citizen and resident of Harris County, Texas.
                         TU
                      (




        2.3 Defendant, Inspectorate America Corp. (“Inspectorate”), is a corporation with its
                  NFQ




principalplaceofbusinessinHarrisCounty,Texasandmaybeservedbyservingitsregisteredagent,
               KNH
          TK




CT Corporation System at 1999 Bryan St., Suite 900, Dallas, TX 75201-3136.
        :S




        2.4 Defendant, Eagle Ship Management, LLC (“Eagle Ship”), is a limited liability company

and may be served by serving its registered agent, Corporation Service Company at 50 Weston

Street, Hartford, CT 06120-1537.




                                                                                                         Page 1
     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 9 of 61




        2.4      Defendant, SFK Inc. d/b/a SKK Marine (“SKK”), is a domestic for-profit

corporation with its principal place of business in Harris County, Texas and may be served by

serving its registered agent, Wayne R. Miller, 16000 Dallas Parkway, Suite 300, Dallas, TX 75248

3. Venue




                                                                                         P
                                                                                      QJW
        3.1 Venue is proper in Harris County, Texas, because all or a substantial part of the events




                                                                                   Y(
giving rise to this claim occurred in Harris County, Texas.




                                                                               WNH
                                                                            NXY
4. Background Facts and Legal Claims




                                                                         X)
        4.1 On oraboutJune24,2019,Mr.KamranwasworkingaboardtheM.V.ImperialEagle,in




                                                                     JX
Harris County, Texas, at the Port of Houston, WoodhouseDock#4,performingabunkerquantity



                                                                  WL
                                                             'Z
survey job. The Job Number of the job in question was SKK1906030. At that time, the M.V.
                                                          S
Imperial Eagle was aside Bunker Barge Shamrock 502. Mr. Kamran needed to transfer from the
                                                      NQ^
                                                   FW


M.V. Imperial Eagle to the Shamrock 502. The only available means of doing so on the M.V.
                                               2




Imperial Eagle was by a rope ladder hanging over the upper railing. As Mr. Kamran attempted to
                                            TK
                                         J




use this ladder, he fell to the deck of the barge, sustaining catastrophic injuries.
                                    KKNH




        4.2 Nothing Mr. Kamran did, or failed to do, caused the occurrence in question. To the
                             ^  4




contrary, the occurrence in question was proximately caused bythenegligenceandgrossnegligence
                          TU
                       (




of the Defendants. 
                   NFQ




        4.3 Defendants Inspectorate, SKK and/or Eagle Ship employed Mr. Kamran before andat
               KNH
          TK




the time of the incident in question. Mr. Kamran performed the jobinquestionasanemployeeof
        :S




Inspectorate, SKK and/or Eagle Ship. Before and at the time of the incident in question, Mr.

Kamran was in the serviceofInspectorate,SKKand/orEagleShipwiththeunderstanding,express




                                                                                                            Page 2
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 10 of 61




and/or implied, that Inspectorate, SKK and/or Eagle Ship had the righttodirectthedetailsofMr.

Kamran’s work and not merely the result to be accomplished.

        4.4 In connection with the job in question, Mr. Kamran signed multiple documents on

behalf of Defendant Inspectorate, including but not limited to time logs, vessel measurement




                                                                                       P
                                                                                    QJW
reports, bunker barge ullage reports, and sample receipt and distribution reports. Defendant




                                                                                 Y(
Inspectorate authorized Mr. Kamran to execute such materials on its behalf as its employee, and




                                                                             WNH
                                                                          NXY
ratified and submitted these documents containing these representations to others in connection




                                                                       X)
with the job inquestion,includingtheChiefEngineeroftheM/VEagle,andwaspaidbasedinpart




                                                                   JX
on these representations.



                                                                WL
                                                            'Z
        4.5 Defendants Inspectorate, SKK and/or Eagle Ship failed to secure payment of
                                                         S
compensation as required by 33 USC 905(a), andPlaintiffselecttomaintainthisactionfordamages
                                                      NQ^
                                                  FW


on account of injuries sustained by Mr. Kamran as a result of the incident in question. In this
                                              2




action, per 33 USC 905(a), Defendants may not plead as a defense that the injury was due to the
                                           TK
                                        J




contributory negligence of Mr. Kamran. 
                                    KKNH




        4.6 Defendants Inspectorate, SKK and/orEagleShipwerenegligentwhichwasaproximate
                             ^  4




cause of the incident in question. Such negligence includes, but is not limited to, the following:
                          TU
                       (




    ● Failing to provide Mr. Kamran with a safe place to work;
                   NFQ




    ● Failing to provide Mr. Kamran with the means and equipment to do his job safely;
                KNH
          TK




    ● Failing to properly train Mr. Kamran on how to do his job safely;
        :S




    ● Failing to properly supervise Mr. Kamran concerning safe work;

    ● Failing to train Mr. Kamran on safely transferring between and/or off of vessels;




                                                                                                         Page 3
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 11 of 61




    ● Failing to provide Mr. Kamran with means and equipment to safely transfer between and/or

        off vessels;

    ● Violating 29 U.S.C. 1915.74 in failing to provide safe access to vessels afloat, safe access to

        barges, and a safe Jacob’s ladder, which constitutes negligence ​per se​ (Plaintiffs hereby invoke




                                                                                       P
                                                                                    QJW
        the “Pennsylvania Rule” based on the violation of these regulations);




                                                                                 Y(
    ● Violating 29 U.S.C. 1918.23 in failing to provide a safe Jacob’s ladder and in failing to




                                                                             WNH
                                                                          NXY
        provide suitable protection, including but not limited to a safety harness and other




                                                                       X)
        appropriate fall protection means and equipment, which constitutes negligence ​per se




                                                                   JX
        (Plaintiffs hereby invoke the “Pennsylvania Rule” based on the violation of these



                                                                WL
        regulations);                                    'Z
                                                        S
    ● Violating 49 CFR 96.40-1, which constitutes negligence ​per se ​(Plaintiffs hereby invoke the
                                                     NQ^
                                                  FW


        “Pennsylvania Rule” based on the violation of these regulations); and
                                              2




    ● Violating other applicable rules and regulations, which constitutes negligence ​per se​ (Plaintiffs
                                           TK
                                        J




        hereby invoke the “Pennsylvania Rule” based on the violation of these regulations).
                                    KKNH




        4.7 Defendant Eagle Ship was negligent per 33USC905(b)in(1)turningitsvesseloverina
                             ^  4




dangerous condition, including but not limited to providing a defective rope ladder, improperly
                          TU
                         (




rigging and setting up the rope ladder, not providing a safetyharnessoranyfallprotection,andnot
                   NFQ




providing access to the gangway, (2)retainingcontroloverpartoftheoperationinquestion,and(3)
                KNH
          TK




failing tointerveneintheoperationinquestion,eachofwhichwasaproximatecauseoftheincident
        :S




in question.

        4.8 Defendants were grossly negligent and acted with malice, as that term is understood

under Texas law, and such conduct was a proximate cause of Plaintiffs’ injuries. Defendant’s




                                                                                                        Page 4
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 12 of 61




malicious and grossly negligent conduct justifies the imposition of punitive andexemplarydamages

both as punishment of Defendants and their callous disregard for the safety of individuals such as

Muhammad Kamran and Zakia Kamran. Plaintiffs therefore asks for punitive and exemplary

damages in addition to all actual damages.




                                                                                         P
                                                                                      QJW
        4.9 Plaintiffs reserve the right to request relief for spoliation of evidence to the extent




                                                                                   Y(
Defendants destroyed and/or failed to preserve all relevant evidence, including video evidence as




                                                                               WNH
                                                                            NXY
well as all relevant physical evidence to include the ladder in question.




                                                                         X)
        4.10 By virtue of theactionsandconductofDefendantsassetforthabove,Mr.Kamranhas




                                                                     JX
suffered severe bodily injuries and damages. Byreasonofthoseinjuriesandthedamagesflowingin



                                                                  WL
                                                              'Z
law therefrom, this suit is maintained. Because of the nature and severity of the injuries sustained,
                                                          S
Mr. Kamran has suffered physical pain and mental anguish and in reasonable probability will
                                                       NQ^
                                                    FW


continue to sufferphysicalpainandmentalanguishinthefuture. Hehasandwillcontinuetosuffer
                                                2




physical impairment and disfigurement. Because of the action and conduct of Defendants herein,
                                             TK
                                          J




Mr. Kamran has sustained very painful and disabling physical injuries that have caused him to
                                     KKNH




sustain a loss of earnings and wage earning capacity in the past, and this condition will, in all
                              ^  4




probability, continue for some time into the future. Because of the nature and severity of the
                           TU
                       (




injuries Mr. Kamran sustained, he has required medical treatment in the past, and in reasonable
                    NFQ




probability be made in the future have been and will be reasonable charges made necessary by the
                KNH
          TK




occurrence in question. 
        :S




        4.11 ​Based on the catastrophic injuries sustained by Mr.Kamranatthetimeoftheincident,

ZakiaKamranhassustainedalossofhouseholdservicesinthepast,andwillsufferacontinuingloss

of household services in to the future. In addition, Zakia Kamran has sustained a loss of




                                                                                                            Page 5
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 13 of 61




consortium in the past, and will suffer a continuing loss of consortium in the future.

5. Pre- and Post-Judgment Interest

        5.1 Plaintiffs would additionally say and show that they are entitled to recovery of

prejudgment interest in accordance with law and equity as partofhisdamagesherein,andPlaintiffs




                                                                                         P
                                                                                      QJW
here and now sue for recovery of prejudgment interest as provided by law and equity, under the




                                                                                   Y(
applicable provisions of the laws of the State of Texas.




                                                                               WNH
                                                                            NXY
6. Jury Demand and Request for Disclosures




                                                                         X)
        6.1 Plaintiffs hereby request a trial by jury.




                                                                     JX
        6.2 Plaintiffs also request that Defendants submit Responses to Disclosures.



                                                                  WL
7. Conclusion and Prayer                                     'Z
                                                          S
        WHEREFORE, PREMISESCONSIDERED,PlaintiffsrequestthatDefendantsbecitedto
                                                       NQ^
                                                    FW


appear and answer, and that on final trial Plaintiffs have: (1) judgment against Defendants, for
                                                2




actual, compensatoryandexemplarydamagesinaccordancewiththeevidence;(2)pre-judgmentand
                                             TK
                                          J




post-judgment interest as provided by law; (3) costs of court; (4) attorney's fees; and (5)suchother
                                     KKNH




and further relief, general and special, to which Plaintiffs mayshowthemselvesjustlyentitledatlaw
                              ^  4




and in equity.
                           TU
                       (




                                                     Respectfully submitted,
                    NFQ




                                                     VB Attorneys
                  KNH





                                                     /s/Vuk Vujasinovic___________
          TK




                                                                                                  
        :S




                                                     Vuk Vujasinovic
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                                                     Job Tennant
                                                     Job@vbattorneys.com
                                                     State Bar No. 24106501
                                                     6363 Woodway Dr., Suite 400
                                                     Houston, Texas 77057


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Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 14 of 61




                                713/224-7800 (Office)
                                713/224-7801 (Facsimile)
                                Attorneys for Plaintiffs




                                                                P
                                                             QJW
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      Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 15 of 61                                        10/28/2019 8:37 AM
                                                                                           Marilyn Burgess - District Clerk Harris County
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     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 16 of 61




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     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 17 of 61




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     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 18 of 61




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     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 19 of 61




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                                                      /s/ Robert L. Klawetter
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                                                      Attorneys for Defendant,
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Plaintiff contributorily/comparatively negligent, such that any claims asserted herein by Plaintiff

should be reduced and/or barred in consequence thereof and in proportion thereto.

2.      lAC further asserts that Plaintiff failed to mitigate his damages and, consequently, engaged

in conduct which exacerbated the damages sued upon herein.




                                                                                       P
                                                                                 QJW
3.      lAC asserts that the injuries and damages, if any, alleged by Plaintiff are caused andlor




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related to pre-existing andlor subsequently occurring medical, genetic, andlor environmental




                                                                           WNH
conditions, substances, diseases or illnesses.




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                                                                   X)
4.      lAC additionally asserts that if it is cast in judgment, it is entitled to have the fact finder




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apportion fault under applicable law including but not limited to the benefits, protections and



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immunities embodied in §33 .001 et seq. of the Texas Civil Practice and Remedies Code amended,
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supplemented andlor recodified.
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                                                  NQ^

5.      lAC additionally asserts that Plaintiff is not entitled to punitive damages under the general
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maritime law based on the facts of this case. Alternatively, Defendant pleads the application of
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§41.001 et seq. of the Texas Civil Practice and Remedies Code amended, supplemented andlor
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                                 KKNH




recodified if shown to be applicable.
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6.      lAC asserts that it was not the employer, contractor, charterer, operator, or owner of the
                         TU




vessels at issue and that it did not employ the Plaintiff or contract the Plaintiff for the work at issue.
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7.      lAC further asserts that it did not direct the Plaintiff or exercise actual control over the
                  NFQ
              KNH




Plaintiff.
             TK




8.      lAC asserts that at all times material hereto it was insured against claims filed against it
        :S




pursuant to the Longshore and Harbor Workers' Compensation Act, 33 U.S.C. § 901, el seq.

9.      lAC asserts in the alternative that if the Plaintiff is found to be its employee or contractor

under the Longshore and Harbor Workers' Act, which is at all times denied, the Plaintiff's sole
      Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 31 of 61




recovery from lAC is for benefits and expenses pursuant to the Longshore and Harbor Workers'

Compensation Act.

10.     In the alternative, lAC asserts that the injury and dannages complained of by the Plaintiff,

if any, are related to incidents or events unrelated to the event on which his lawsuit is based and/or




                                                                                   P
                                                                              QJW
was caused by the fault of third persons, parties or entities for whose actions lAC




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is not legally responsible.




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It.      In the alternative, lAC asserts that at all times material hereto the Plaintiff's employer or




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                                                                    X)
contractor was SFK, Inc. d/b/a SKK Marine ("SKKn) and that the Plaintiff was directed and




                                                              JX
controlled in his work only by SKK and no other person or entity including lAC.



                                                           WL
12.      lAC asserts that at no time material hereto did it own, charter. operate, or control the M.V.
                                                        'Z
Imperial Eagle or Bunker Barge Shannrock 52.
                                                    S
                                                 NQ^

13.      By way of further Answer, lAC hereby gives actual notice to the Plaintiff and all of the
                                              FW
                                           2




parties that any and all documents produced during discovery may be used against the Plaintiff
                                        TK




and all other parties and any pretrial proceeding andlor trial of this matter without the necessity of
                                     J
                                 KKNH




authenticating the document.
                              ^4




                                                  IV.
                         TU




                                       Request for Jury Trial
                     (




         Defendant requests a trial by jury on all issues herein.
                  NFQ
               KNH




                                                  V.
            TK




                                                Prayer
        :S




         WHEREFORE, PREMISES CONSIDERED, Defendants INSPECTORATE AMERICA

CORP. prays that this Court dismiss the plaintiff's case under andlor Plaintiff take nothing by reason
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 32 of 61




of this suit and that lAC be discharged of all liability herein. lAC further prays for such other and

further relief, general and special, at law and in equity to which it may show itself justly entitled.

                                                 Respectfully Submitted:

                                                 ALLEN & GOOCH




                                                                                    P
                                                 A LA W CORPORATION




                                                                                  JW
                                                                                (Q
                                                                               Y
                                                                           WNH
                                                                       NXY
                                                                  X)
                                                               JX
                                                            WL
                                                        'Z
                                                     S
                                   CERTIFICATE OF SERVICE
                                                  NQ^
                                               FW



        I HEREBY CERTIFY that a copy of the above and foregoing instrument has this day been
                                           2




served on all parties through their counsel of record via email and by the Court's electronic filing
                                        TK
                                      J




system on this 29" day of January, 2020.
                                 KKNH




        Vuk Vujasinovic (Texas Bar: 00794800)            Robert L. Klawetter (SBN 11554700)
                              4




        Vuk@vbattorneys.com                              klawetter@eastharnlaw.com
                          U^




        Job Tennant (Texas State Bar 24106501)           Christina K. Schovajsa (SBN 24002910)
       l1g~ybattomevs.com                                Schovaisa easthamlaw.com
                      (T
                  NFQ
              KNH
            TK
       :S
      Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 33 of 61                              2/11/2020 4:15 PM
                                                                                Marilyn Burgess - District Clerk Harris County
                                                                                                     Envelope No. 40754372
                                                                                                                By: Iris Collins
                                                                                                    Filed: 2/11/2020 4:15 PM

                                     CAUSE NO. 2019-71794

MUHAMMAD KAMRAN AND                               §              IN THE DISTRICT COURT OF
ZAKIA KAMRAN                                      §
                                                  §
VS.                                               §                   HARRIS COUNTY, TEXAS
                                                  §




                                                                                 P
INSPECTORATE AMERICA CORP.,                       §




                                                                              QJW
EAGLE SHIP MANAGEMENT LLC,                        §
AND SFK INC. D/B/A SKK MARINE                     §




                                                                           Y(
AND SFK SECON                                     §                   165th JUDICIAL DISTRICT




                                                                       WNH
                     MEMORIAL HERMANN HEALTH SYSTEM’S




                                                                    NXY
             ORIGINAL PETITION IN INTERVENTION AND CLAIM TO FUNDS




                                                                 X)
TO THE HONORABLE JUDGE OF SAID COURT:




                                                             JX
        COMES NOW, Memorial Hermann Health System d/b/a Memorial Hermann – Texas


                                                          WL
                                                      'Z
Medical Center (“Memorial Hermann” or “Intervenor”), and files this Original Petition in
                                                      S
Intervention. Intervenor respectfully shows unto the Court the following:
                                                 NQ^
                                              FW


                                           I.
                                          2




                                DISCOVERY CONTROL PLAN
                                       TK




        1.      Intervenor intends for discovery in this cause to be conducted under Level 3
                                     J
                                 KKNH




pursuant to Rule 190.4 of the Texas Rules of Civil Procedure.
                             4




                                               II.
                           ^




                                             PARTIES
                        TU
                     (




        2.      Intervenor Memorial Hermann is a Texas non-profit corporation maintaining
                 NFQ




principal offices and regular place of business in Houston, Harris County, Texas.
               KNH




        3.      Service of process on Plaintiff Muhammad Kamran, Plaintiff Zakia Kamran,
          TK
        :S




Defendant Inspectorate America Corp., and Defendant Eagle Ship Management LLC is not

necessary as copies of this Original Petition in Intervention will be delivered to all parties’ counsel

of record in accordance with TEX. R. CIV. P. 21a and TEX. R. CIV. P. 60.
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 34 of 61




       4.      Defendant SFK Inc. may be served with process by serving its registered agent,

Wayne R. Miller, at 16000 Dallas Parkway, Suite 300, Dallas, Dallas County, Texas 75248, or

wherever he may be found.

                                            III.




                                                                                 P
                                   JURISDICTION & VENUE




                                                                              QJW
       5.      This Court has jurisdiction over the parties, jurisdiction over the subject matter of




                                                                           Y(
                                                                       WNH
this dispute, and jurisdiction to award all relief prayed for herein.




                                                                    NXY
       6.      Venue is proper in Harris County, Texas because Harris County is where the




                                                                 X)
original action was filed and the cause of action alleged in this Intervention arises from the same




                                                             JX
transaction or events on which Plaintiff Muhammad Kamran has based his suit herein and Plaintiff


                                                           WL
                                                       'Z
Muhammad Kamran has submitted himself to the jurisdiction and venue of the Court. Likewise,
                                                       S
Defendants Inspectorate America Corp. and Eagle Ship Management LLC have submitted
                                                 NQ^
                                              FW


themselves to the jurisdiction and venue of the Court.
                                          2




                                            IV.
                                        TK




                                   FACTUAL BACKGROUND
                                     J
                                 KKNH




       7.      On or about June 24, 2019, Plaintiff Muhammad Kamran was injured in a fall at
                             4




the Port of Houston in Harris County, Texas.
                           ^
                        TU




       8.      As a result of accident described above, Plaintiff Muhammad Kamran was
                     (




transported from the scene of the accident by Houston Fire Department ambulance to the
                 NFQ
              KNH




emergency department at Memorial Hermann – Texas Medical Center, a hospital facility within
         TK




the Memorial Hermann Health System, where he was emergently admitted for the diagnosis and
       :S




treatment of his injuries suffered in the accident. The usual and customary, reasonable and

necessary charges for the accident-related hospital services, medical care and treatment, nursing




                                                   2
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 35 of 61




care, supplies and equipment provided to Plaintiff Muhammad Kamran from or around June 24,

2019 through July 11, 2019 totaled $222,278.25.

       9.      Today, after all just and lawful payments, offsets, and credits, the outstanding

balance for accident-related hospital services, medical care and treatment, nursing care, supplies




                                                                                 P
                                                                              QJW
and equipment provided to Plaintiff Muhammad Kamran by Memorial Hermann – Texas Medical




                                                                           Y(
Center remains $222,278.25.




                                                                       WNH
                                              V.




                                                                    NXY
                                       CAUSE OF ACTION




                                                                 X)
       10.     This cause of action is for the recovery of the usual, reasonable, and customary




                                                             JX
charges for its services provided to Plaintiff Muhammad Kamran based in quantum meruit. In this


                                                          WL
                                                      'Z
respect, Intervenor provided necessary medical services to Plaintiff Muhammad Kamran with the
                                                      S
express understanding that it would be compensated for the same at its usual and customary rates,
                                                 NQ^
                                              FW


which Intervenor alleges to be $222,278.25. Also, Plaintiff Muhammad Kamran accepted the
                                          2




services from Intervenor without objection. Plaintiff Muhammad Kamran accepted the benefits
                                       TK
                                     J




of the items and services rendered by Intervenor to Plaintiff Muhammad Kamran and, as a result,
                                 KKNH




thereby became liable to Intervenor for the reasonable value thereof.
                           ^ 4




       11.     As it has become necessary for Intervenor to retain the undersigned to bring this
                        TU
                     (




action, it is entitled to recover its reasonable attorney’s fees and costs, which amount will be stated
                 NFQ




at such time as it can be determined, and for which amount Intervenor prays for judgment.
              KNH
         TK




                                             VI.
                                       RIGHT TO AMEND
       :S




       12.     Intervenor specifically reserves the right to amend these pleadings upon pretrial

discovery, order of the Court, or as counsel may agree.




                                                  3
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 36 of 61




                                           VII.
                                  CONDITIONS PRECEDENT

       13.     All conditions precedent have occurred or are excused.

                                          VIII.
                                REQUESTS FOR DISCLOSURE




                                                                                P
                                                                             QJW
       14.     Under Texas Rule of Civil Procedure 194, Intervenor requests that Plaintiff




                                                                          Y(
Muhammad Kamran, Plaintiff Zakia Kamran, Defendant Inspectorate America Corp., and




                                                                      WNH
Defendant Eagle Ship Management LLC disclose, within 30 days of the service of this request,




                                                                   NXY
                                                                X)
the information or material described in Rule 194.2.




                                                             JX
       15.     Under Texas Rule of Civil Procedure 194, Intervenor requests that Defendant SFK



                                                           WL
Inc. disclose, within 50 days of the service of this request, the information or material described in
                                                      'Z
Rule 194.2.
                                                      S
                                                NQ^

                                             IX.
                                             FW


                                      RULE 193.7 NOTICE
                                          2




       16.     Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Intervenor hereby
                                       TK
                                    J




gives notice that all documents produced by any party in response to discovery authenticate the
                                KKNH




documents for use in all pretrial and trial proceedings.
                           ^ 4




                                             PRAYER
                        TU
                    (




       WHEREFORE, PREMISES CONSIDERED, Intervenor Memorial Hermann Health
                 NFQ




System d/b/a Memorial Hermann – Texas Medical Center prays that Plaintiff Muhammad Kamran
              KNH




be required to answer herein, and that upon a trial hereof, Memorial Hermann Health System have:
         TK
       :S




       (1)     Judgment for actual damages in the amount of at least $222,278.25;

       (2)     All costs of court expended in the pursuit of this action;

       (3)     Pre-judgment interest at the highest legal rate from the date this action is filed until
               the date of judgment;



                                                  4
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 37 of 61




       (4)    Post-judgment interest at the highest legal rate from the date of judgment until paid
              in full;

       (5)     Reasonable and necessary attorney’s fees through trial and all appellate levels; and

       (6)    Such other and further relief, general or special, legal or equitable, to which
              Intervenor may show itself justly entitled and which the Court deems appropriate.




                                                                              P
                                                                           QJW
                                         Respectfully submitted,




                                                                        Y(
                                         SULLINS, JOHNSTON, ROHRBACH & MAGERS




                                                                    WNH
                                         By: _/s/ Jared C. Johnson________________________




                                                                 NXY
                                             JARED COLE JOHNSON




                                                              X)
                                             Texas Bar No. 24057926
                                             jjohnson@sjrm.com




                                                           JX
                                         3200 Southwest Freeway, Suite 2200
                                         Houston, Texas 77027



                                                        WL
                                         Tel. (713) 521-0221
                                                     'Z
                                         Fax (713) 521-3242
                                                    S
                                         ATTORNEYS FOR INTERVENOR,
                                               NQ^

                                         MEMORIAL HERMANN HEALTH SYSTEM
                                            FW
                                        2
                                      TK
                                   J
                               KKNH




                                CERTIFICATE OF SERVICE
                            4




       I hereby certify that a true and correct copy of the foregoing Memorial Hermann Health
                          ^




System’s Original Petition in Intervention was served on all parties and/or counsel of record on
                       TU




this 11th day of February, 2020, in accordance with TEX. R. CIV. P. §§ 21 and 21a:
                    (
                NFQ
             KNH




                                                    _/s/ Jared C. Johnson____________________
         TK




                                                    JARED C. JOHNSON
       :S




                                                5
      Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 38 of 61                              3/2/2020 1:57 AM
                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                    Envelope No. 41274790
                                                                                                       By: Mercedes Ramey
                                                                                                    Filed: 3/2/2020 1:57 AM
                                     CAUSE NO. 2019-71794

PLANTIFF:                                                           IN THE DISTRICT COURT
                                                   OF

Muhammad Kamran and Zakia Kamran                                               Harris County, Texas
                                                                               165th Judicial District

Vs.

DEFENDANT:
Inspectorate America Corp., Eagle Ship
Management LLC, SFK Inc. DBA SKK
Marine



                    MOTION TO EXTEND TIME TO FILE RESPONSE



Defendant SFK Inc. DBA SKK Marine formally requests an extension of time for defendant to
file a response to plaintiff’s “Second Amended Petition.”


Defendant SFK Inc. requests this additional time in order to seek adequate and appropriate legal
counsel given the complexities of the citation, and accusations against the defendant. Given that
defendant is a party registered in the State of California, seeking legal counsel who not only
practices in the State of Texas, but is also able to understand the complex and esoteric nature of
the issues at hand, is a burden requiring more time than initially anticipated.


The defendant generally denies the allegations as stated in the plaintiffK9 petition :ithout
waiving any defenses, SFK Inc. seeks additional time to submit its answer to the plaintiff’s
allegations through appropriate designated legal counsel.



Respectfully,

SFK Inc DBA SKK Marine

legal@sfkcorp.com

+1.310.896.825
      Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 39 of 61                             3/9/2020 9:07 AM
                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No. 41482934
                                                                                                      By: Mercedes Ramey
                                                                                                   Filed: 3/9/2020 9:07 AM

                                      CAUSE NO. 2019-71794

MUHAMMAD KAMRAN                                     §          IN THE DISTRICT COURT OF
AND ZAKIA KAMRAN                                    §
                                                    §
VS.                                                 §          HARRIS COUNTY, TEXAS
                                                    §




                                                                               P
INSPECTORATE AMERICA CORP.                          §




                                                                            QJW
AND EAGLE SHIP MANAGEMENT, LLC                      §          165TH JUDICIAL DISTRICT




                                                                         Y(
      DEFENDANT EAGLE SHIP MANAGEMENT LLC’S ORIGINAL ANSWER TO




                                                                     WNH
        MEMORIAL HERMANN HEALTH SYSTEM’S ORIGINAL PETITION IN
                  INTERVENTION AND CLAIM TO FUNDS




                                                                  NXY
                                                               X)
        COMES NOW Eagle Ship Management LLC (“Defendant”) in answer to Memorial




                                                            JX
Hermann Health System’s Original Petition in Intervention and Claim to Funds to respectfully



                                                         WL
show the following:
                                                     'Z
                                      A. GENERAL DENIAL
                                                   S
                                                NQ^

        1.         Defendant generally denies the allegations of Memorial Hermann Health System
                                             FW
                                          2




(“Intervenor”) in its Original Petition in Intervention and Claim to Funds pursuant to Rule 92 of the
                                       TK




Texas Rules of Civil Procedure, and Defendant demands that Intervenor be required to prove the
                                      J
                                 KKNH




charges and allegations against it by a preponderance of the evidence as required by the Constitution
                              4




and laws of the State of Texas, as well as substantive and procedural laws of the United States, or
                             ^
                          TU




otherwise, as may be appropriate.
                       (




                                      B. OTHER DEFENSES
                    NFQ
                   KNH




        2.         For further answer, if such is necessary and without waiving the foregoing,
          TK




Defendant is not liable as alleged.
        :S




        3.         For further answer, if such is necessary and without waiving the foregoing,

Muhammad Kamran’s alleged injuries and Intervenor’s alleged damages were proximately caused




23,469♦0PLLC3123
     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 40 of 61




by Muhammad Kamran’s own contributory negligence/comparative fault for which Defendant is

not responsible.

         4.        For further answer, if such is necessary and without waiving the foregoing,

Muhammad Kamran’s alleged injuries and Intervenor’s alleged damages are the result in whole or




                                                                                P
                                                                             QJW
in part of preexisting and/or subsequently occurring illnesses, injuries and/or bodily conditions of




                                                                          Y(
Muhammad Kamran unrelated to the alleged incident herein and for which Defendant has no legal




                                                                      WNH
liability.




                                                                   NXY
                                                                X)
         5.        For further answer, if such is necessary and without waiving the foregoing,




                                                             JX
Muhammad Kamran’s alleged injuries and Intervenor’s alleged damages were proximately caused,



                                                          WL
in whole or in part, by the negligence and/or breach of duty of third parties and/or by
                                                      'Z
instrumentalities for which Defendant is not legally responsible.
                                                      S
                                                NQ^

         6.        For further answer, if such is necessary and without waiving the foregoing,
                                             FW
                                          2




Muhammad Kamran’s alleged injuries and Intervenor’s alleged damages were the result of open
                                       TK




and obvious conditions and/or risks assumed by Muhammad Kamran and for which Defendant is
                                     J
                                 KKNH




not legally responsible.
                              4




         7.        For further answer, if such is necessary and without waiving the foregoing,
                              ^
                           TU




Defendant denies that the rates charged for the services Intervenor claims to have provided to
                       (




Muhammad Kamran are usual and customary.
                    NFQ
                   KNH




         8.        For further answer, if such is necessary and without waiving the foregoing,
           TK




Defendant denies that all of the services that Intervenor claims to have provided to Muhammad
         :S




Kamran were reasonable and necessary as a result of the incident on June 24, 2019, underlying

Plaintiffs’ lawsuit.




23,469♦0PLLC3123                                  2
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 41 of 61




        9.         For further answer, if such is necessary and without waiving the foregoing,

Defendant denies that Intervenor has satisfied any conditions precedent as alleged.

                   C. OBJECTIONS TO INTERVENOR’S TRCP 193.7 NOTICE

        10.        Intervenor’s inclusion of a “Rule 193.7 Notice” section in its petition in intervention

is premature, improper and invalid as it does not comply with Texas Rule of Civil Procedure 193.7.

                                               D. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Eagle Ship Management LLC prays that all

of Intervenor’s claims against it be dismissed, or in the alternative that upon final hearing

judgment be entered that Intervenor takes nothing by this suit against Eagle Ship Management

LLC, and that Eagle Ship Management LLC be awarded its costs incurred in the defense of this

action, and all other and further relief to which Eagle Ship Management LLC may be entitled.


                                                  Respectfully submitted,

                                                  EASTHAM, WATSON, DALE & FORNEY, L.L.P.


                                                  /s/ Robert L. Klawetter
                                                  Robert L. Klawetter
                                                  State Bar No. 11554700
                                                  klawetter@easthamlaw.com
                                                  Christina K. Schovajsa
                                                  State Bar No. 24002910
                                                  schovajsa@easthamlaw.com
                                                  The Niels Esperson Building
                                                  808 Travis Street, Suite 1300
                                                  Houston, Texas 77002
                                                  Telephone: (713) 225-0905
                                                  Facsimile: (713) 225-2907

                                                  Attorneys for Defendant,
                                                  Eagle Ship Management LLC




23,469♦0PLLC3123                                     3
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 42 of 61




                               CERTIFICATE OF SERVICE

        I, the undersigned, certify that I am a member of the firm of Eastham, Watson, Dale &
Forney, L.L.P., attorneys in charge for the Defendant herein, and that I forwarded a true and
correct copy of the foregoing to all counsel of record on this the 9th day of March, 2020.

Via Electronic Filing System                      Via Electronic Filing System




                                                                             P
Vuk Vujasinovic                                   Jared C. Johnson




                                                                          QJW
Job Tennant                                       Sullins, Johnston, Rohrbach & Magers
AB Attorneys                                      3200 Southwest Freeway, Suite 2200




                                                                       Y(
6363 Woodway Dr., Suite 400                       Houston, Texas 77027




                                                                   WNH
Houston, Texas 77057




                                                                NXY
Via Electronic Filing System




                                                             X)
John H. Hughes
Allen & Gooch




                                                         JX
2000 Kaliste Saloom Road, Suite 400 (70508)
P.O. Box 81129


                                                       WL
Lafayette, Louisiana 70598-1129
                                                   'Z
                                                  S
                                          /s/ Robert L. Klawetter
                                              NQ^

                                          Robert L. Klawetter
                                         FW
                                      2
                                    TK
                                 J
                               KKNH
                           4
                            ^
                         TU
                     (
                    NFQ
                   KNH
          TK
        :S




23,469♦0PLLC3123                              4
   Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 43 of 61                     3/12/2020 3:06 PM
                                                                    Marilyn Burgess - District Clerk Harris County
                                                                                         Envelope No. 41623265
                                                                                            By: Mercedes Ramey
                                                                                        Filed: 3/12/2020 3:06 PM


                                Cause No. 2019-71 794

MUHAMMAD KAMRAN AND             §                        IN THE DISTRICT COURT OF
ZAKIA KAMRAN                    §
                                §
~                               §                           HARRIS COUNTY, TEXAS
                                §




                                                                        P
INSPECTORATE AMERICA CORP.,     §




                                                                     QJW
EAGLE SHIP MANAGEMENT, LLC, AND §




                                                                  Y(
SFK, INC. D/B/A SKK MARINE and  §
SFKSECON                        §                           16STH JUDICIAL DISTRI CT




                                                              WNH
                                                           NXY
            DEFENDANTS, SFK, INC. D/B/A SKK MARINE AND SFK, INC.
            D/B/A SFK SECON'S FIRST AMENDED ORIGINAL ANSWER




                                                        X)
TO THE HONORABLE JUDGE OF SAID COURT:




                                                     JX
                                                  WL
       COME NOW, SFK, INC. D/B/A SKK MARINE, and SFK, INC. D/B/A SFK
                                                'Z
SECON (incorrectly named "SFK SECON"), Defendants in the above-referenced and
                                                S
                                          NQ^

entitled cause, and file this, their First Amended Original Answer to Plaintiffs' Second
                                       FW



Amended Original Petition , and would show unto this Honorable Court as follows:
                                    2
                                  TK




                                           I.
                               J




                                    GENERAL DENIAL
                            KKNH




       Pursuant to the provisions of Rule 92 of the Texas Rul es of Civil Procedure,
                         4




Defendants, SFK, INC. D/B/A SKK MARINE, and SFK, INC. D/B/A SFK SECON
                        ^
                     TU




(incorrectly named "SFK SECON"), deny each and every, all and singular, the
                  (
                 NFQ




allegations contained in Plaintiffs' Second Amended Original Petition, and demand strict
            KNH




proof thereof.
        TK
      :S




      WHEREFORE, PREMISES CONSIDERED, Defendants, SFK, INC. D/B/A SKK

MARINE, and SFK, INC. D/B/A SFK SECON (incorrectly named "SFK SECON"), pray

that Plaintiffs take nothing by reason of this suit herein and that Defendants have
   Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 44 of 61




judgment in their favor on all issues of law and fact, and that Defendants recover their

costs expended herein , and for such other and further relief, general or special, at

equity or in law, to which these Defendants may be justly entitled.




                                         If\'ade R. Quinn
                                         TB~o . 16433600
                                         Ramey, Chandler, Quinn & Zito, P.C.
                                         750 Bering Drive, Suite 600
                                         Houston, Texas 77057
                                         713-266-0074 - Phone
                                         713-266-1064 - Fax
                                         Wguinn@ramey-chandler.com
                                         Attorney for Defendants,
                                         SFK, INC. D/B/A SKK MARINE, and SFK, INC.
                                         D/B/A SFK SECON (incorrectly named
                                         "SFK SECON")




                                            2
   Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 45 of 61




                                Certificate of Service

        hereby certify that a true and correct copy of the foregoing instrument was
served upon the parties listed below by facsimile, certified mail, return receipt
requested, first class U.S. mail, electronic mail by the clerk of the court, andlor by
messenger on the 12th day of March, 2:uO~2\1.
                                          0 _-,---/....




Vuk Vujasinovic
Job Tennant
VB Attorneys
6363 Woodway Drive, Suite 400
Houston, Texas 77057

Jared Cole Johnson
Sullins, Johnston, Rohbrach & Magers
3200 Southwest Freeway, Suite 2200
Houston, Texas 77027

John H. Hughes
Allen & Gooch
2000 Kaliste Saloom Rd., Suite 400
Lafayette, Louisiana 70508

Robert L. Klawetter
Christina K. Schovajsa
Eastham, Watson, Dale & Forney, LLP
808 Travis SI. , Suite 1300
Houston, Texas 77002




                                          3
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 46 of 61                              3/12/2020 4:30 PM
                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No. 41606197
                                                                                                      By: Mercedes Ramey
                                                                                                  Filed: 3/12/2020 4:30 PM

                                CAUSE NUMBER: 2019-71794

MUHAMMAD KAMRAN and           *                   IN THE DISTRICT COURT OF
ZAKIA KAMRAN                  *
                              *
VERSUS                        *
                              *                   HARRIS COUNTY, TEXAS




                                                                               P
INSPECTORATE AMERICA CORP., *




                                                                            QJW
EAGLE SHIP MANAGEMENT, LLC, *




                                                                         Y(
and SFK INC. d/b/a SKK MARINE *
and SKK SECON                 *                   COURT: 165th JUDICIAL DISTRICT




                                                                     WNH
*****************************************************************************




                                                                  NXY
           DEFENDANT INSPECTORATE AMERICA CORP.’S ANSWER




                                                               X)
           TO MEMORIAL HERMANN HEALTH SYSTEM’S ORIGINAL
             PETITION IN INTERVENTION AND CLAIM TO FUNDS




                                                            JX
       NOW INTO COURT, through undersigned counsel, comes INSPECTORATE AMERICA


                                                         WL
                                                      'Z
CORP. (hereinafter “IAC”), named as defendant-in-intervention herein, who, in answer to and in
                                                   S
response to the Original Petition in Intervention and Claim to Funds of Memorial Hermann Health
                                                NQ^
                                             FW


System (hereinafter “MHHS”), would respectfully represents that:
                                         2




                                                 I.
                                       TK
                                    J




                                          General Denial
                                KKNH




       1.      IAC generally denies the allegations of Memorial Hermann Health System
                            ^4




(“MHHS”) in its Original Petition in Intervention and Claim to Funds pursuant to Rule 92 of the
                         TU




Texas Rules of Civil Procedure, and IAC demands that MHHS be required to prove the charges and
                    (
                 NFQ




allegations against IAC by a preponderance of the evidence as required by the Constitution and Laws
              KNH




of the State of Texas, as well as substantive and procedural laws of the United States, or otherwise,
         TK
       :S




as may be appropriate.
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 47 of 61




                                                 II.

                                          Other Defenses

        2.      IAC further answers, if such is necessary and without waiver of the foregoing, IAC

is not liable as alleged.




                                                                                P
                                                                             QJW
        3.      IAC further answers, if such is necessary and without waiving the foregoing,




                                                                          Y(
Muhammad Kamran’s alleged injuries and MHHS’s alleged damages were proximately caused by




                                                                      WNH
Muhammad Kamran’s own contributory negligence / comparative fault for which Defendant is




                                                                   NXY
                                                                X)
not responsible.




                                                             JX
        4.      IAC further answers, if such is necessary and without waiving the foregoing,



                                                          WL
Muhammad Kamran’s alleged injuries and MHHS’s alleged damages are the result in whole or in
                                                       'Z
                                                   S
part of preexisting and/or subsequently occurring illnesses, injuries and/or bodily conditions of
                                                NQ^

Muhammad Kamran unrelated to the alleged incident herein and for which IAC has no legal liability.
                                             FW
                                          2




        5.      IAC further answers, if such is necessary and without waiving the foregoing,
                                       TK




Muhammad Kamran’s alleged injuries and MHHS’s alleged damages are proximately caused, in
                                    J
                                KKNH




whole or in part, by the negligence and/or breach of duty of third parties and/or by instrumentalities
                              4




for which IAC is not legally responsible.
                               ^
                            TU




        6.      IAC further answers, if such is necessary and without waiving the foregoing,
                     (




Muhammad Kamran’s alleged injuries and MHHS’s alleged damages were the result of open and
                   NFQ
               KNH




obvious conditions and/or risks assumed by Muhammad Kamran and for which IAC is not legally
          TK




responsible.
        :S




        7.      IAC further answers, if such is necessary and without waiving the forgoing, IAC

denies that the rates charged for the services MHHS claims to have provided to Muhammad

Kamran are usual and customary.
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 48 of 61




         8.    IAC further answers, if such is necessary and without waiving the foregoing, IAC

denies that all of the services that MHHS claims to have provided to Muhammad Kamran were

reasonable and necessary as a result of the incident on June 24, 2019 underlying Plaintiffs’ lawsuit.

         9.    IAC further answers, if such is necessary and without waiving the foregoing, IAC




                                                                                P
                                                                             QJW
denies that MHHS has satisfied any conditions precedent as alleged.




                                                                          Y(
                                                 III.




                                                                      WNH
                           Objections to MHHS’s TRCP 193.7 Notice




                                                                   NXY
                                                                X)
         10.   MHHS’s inclusion of a “Rule 193.7 Notice” section in its petition in intervention




                                                             JX
is premature, improper, and invalid as it does not comply with Texas Rule of Civil Procedures



                                                          WL
193.7.
                                                        'Z
                                                 IV.
                                                   S
                                                NQ^

                                               Prayer
                                             FW
                                          2




         WHEREFORE, PREMISES CONSIDERED, Defendant, INSPECTORATE AMERICA
                                       TK




CORP., prays that this Court dismiss the MHHS’s claims against it or, in the alternative, that upon
                                     J
                                KKNH




final hearing judgment be entered that MHHS takes nothing by this suit against INSPECTORATE
                             4




AMERICA CORP., and that INSPECTORATE AMERICA CORP. be awarded its costs incurred
                           ^
                        TU




in the defense of this action, and all other and further relief to which INSPECTORATE AMERICA
                     (




CORP. may be entitled.
                 NFQ
               KNH
           TK
         :S
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 49 of 61




                                              Respectfully Submitted:

                                              ALLEN & GOOCH
                                              A LAW CORPORATION




                                                                               P
                                              /s/ John H. Hughes                        _




                                                                            QJW
                                              JOHN H. HUGHES, Bar Roll No. 00795170
                                              JohnHughes@AllenGooch.com




                                                                         Y(
                                              ALAN J. MECHE, Bar Roll No. 24025530




                                                                     WNH
                                              AlanMeche@AllenGooch.com
                                              2000 Kaliste Saloom Road, Suite 400 (70508)




                                                                  NXY
                                              P.O. Box 81129




                                                               X)
                                              Lafayette, LA 70598-1129
                                              Tel.: 337-291-1290




                                                           JX
                                              Fax: 337-291-1295
                                              Attorneys for INSPECTORATE AMERICA CORP.


                                                         WL
                                                     'Z
                                 CERTIFICATE OF SERVICE
                                                  S
                                               NQ^

       I HEREBY CERTIFY that a copy of the above and foregoing instrument has this day been
                                            FW
                                          2




served on all parties through their counsel of record via email and by the Court’s electronic filing
                                      TK




system on this 10th day of March, 2020.
                                    J
                                KKNH




        Mr. Vuk Vujasinovic                        Robert L. Klawetter
        Vuk@vbattorneys.com                        klawetter@easthamlaw.com
                            4




        Job Tennant                                Christina K. Schovajsa
                          ^




        Job@vbattorneys.com                        Schovajsa@easthamlaw.com
                       TU




        Counsel for Plaintiffs                     Counsel for Eagle Ship
                    (




        Jared C. Johnson                           SFK Inc. dba SKK MARINE
                 NFQ




        jjohnson@sjrm.com                          SFK Inc. dba SKK Marine
              KNH




        Counsel for Intervenor, Memorial           legal@sfkcorp.com
        Hermann Health System
         TK
       :S




                                      /s/ John H. Hughes            _
                                       JOHN H. HUGHES
     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 50 of 61                             3/19/2020 2:43 PM
                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                   Envelope No. 41796366
                                                                                                       By: Bristalyn Daniels
                                                                                                  Filed: 3/19/2020 2:43 PM

                                CAUSE NUMBER: 2019-71794

 MUHAMMAD KAMRAN and           *                   IN THE DISTRICT COURT OF
 ZAKIA KAMRAN                  *
                               *
 VERSUS                        *
                               *                   HARRIS COUNTY, TEXAS




                                                                                P
 INSPECTORATE AMERICA CORP., *




                                                                             QJW
 EAGLE SHIP MANAGEMENT, LLC, *




                                                                          Y(
 and SFK INC. d/b/a SKK MARINE *
 and SKK SECON                 *                   COURT: 165th JUDICIAL DISTRICT




                                                                      WNH
*****************************************************************************




                                                                   NXY
       DEFENDANT BUREAU VERITAS COMMODITIES AND TRADE, INC.




                                                                X)
          VERIFIED AMENDED ANSWER TO PLAINTIFFS’ ORIGINAL,
           FIRST, AND SECOND AMENDED PETITION FOR DAMAGES




                                                            JX
                       AND REQUEST FOR DISCLOSURE



                                                         WL
        NOW INTO COURT, through undersigned counsel, comes BUREAU VERITAS
                                                       'Z
COMMODITIES AND TRADE, INC. f/k/a INSPECTORATE AMERICA CORPORATION
                                                   S
                                                NQ^

(hereinafter “BVCT”), named as defendant herein, who Amends its answer to and in response to
                                             FW
                                         2




the Original, First and Second Amended Petitions for Damages of Muhammad Kamran and Zikia
                                       TK




Kamran (hereinafter “Plaintiffs”) and who would respectfully represents that:
                                    J
                                KKNH




                                                 I.
                             4




                                          General Denial
                           ^
                        TU




        BVCT asserts a general denial to the allegations contained in Plaintiffs’ Original, First and
                     (




Second Amended Petition and Request for Disclosure in accordance with the rules, statutes and the
                  NFQ
              KNH




Constitution of the State of Texas, and thereby demands that the Plaintiffs prove their case by the
         TK




requisite legal standards.
       :S




                                                 II.

                                         Verified Denials

1.      BVCT denies that at no time material hereto did it own, charter, operate, or control the

M.V. Imperial Eagle or Bunker Barge Shamrock 52.
     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 51 of 61




2.     BVCT denies that it employed Plaintiff Muhammad Kamran or contracted Plaintiff

Muhammad Kamran for the work at issue.

3.     BVCT denies that it directed Plaintiff Muhammad Kamran or exercised actual control over




                                                                                P
                                                                             QJW
Plaintiff Muhammad Kamran.




                                                                          Y(
4.     BVCT asserts that at all times material hereto it was insured against claims filed against it




                                                                      WNH
pursuant to the Longshore and Harbor Workers’ Compensation Act, 33 U.S.C. § 901, et seq.




                                                                   NXY
                                                                X)
                                                 III.




                                                             JX
                                       Affirmative Defenses



                                                          WL
5.     BVCT asserts that the Plaintiff caused or contributed to his own injuries and damages in
                                                        'Z
that he failed to exercise that degree of care imposed upon him by law and/or statute, thus rendering
                                                    S
                                                 NQ^

Plaintiff contributorily/comparatively negligent, such that any claims asserted herein by Plaintiff
                                             FW
                                          2




should be reduced and/or barred in consequence thereof and in proportion thereto.
                                       TK




6.     BVCT further asserts that Plaintiff failed to mitigate his damages and, consequently,
                                    J
                                KKNH




engaged in conduct which exacerbated the damages sued upon herein.
                             4




7.     BVCT asserts that the injuries and damages, if any, alleged by Plaintiff are caused and/or
                          ^
                       TU




related to pre-existing and/or subsequently occurring medical, genetic, and/or environmental
                    (




conditions, substances, diseases or illnesses.
                 NFQ
              KNH




8.     BVCT additionally asserts that if it is cast in judgment, it is entitled to have the fact finder
         TK




apportion fault under applicable law including but not limited to the benefits, protections and
       :S




immunities embodied in §33.001 et seq. of the Texas Civil Practice and Remedies Code amended,

supplemented and/or recodified.
      Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 52 of 61




9.      BVCT additionally asserts that Plaintiff is not entitled to punitive damages under the general

maritime law based on the facts of this case. Alternatively, Defendant pleads the application of

§41.001 et seq. of the Texas Civil Practice and Remedies Code amended, supplemented and/or

recodified if shown to be applicable.




                                                                                   P
                                                                                QJW
10.     BVCT asserts in the alternative that if the Plaintiff is found to be its employee or contractor




                                                                             Y(
under the Longshore and Harbor Workers’ Act, which is at all times denied, the Plaintiff’s sole




                                                                         WNH
recovery from BVCT is for benefits and expenses pursuant to the Longshore and Harbor Workers’




                                                                      NXY
                                                                   X)
Compensation Act.




                                                             JX
11.     In the alternative, BVCT asserts that the injury and damages complained of by the Plaintiff,



                                                          WL
if any, are related to incidents or events unrelated to the event on which his lawsuit is based and/or
                                                       'Z
was caused by the fault of third persons, parties or entities for whose actions BVCT is not legally
                                                    S
                                                 NQ^

responsible.
                                              FW
                                           2




12.     In the alternative, BVCT asserts that at all times material hereto the Plaintiff’s employer or
                                        TK




contractor was SFK, Inc. d/b/a SKK Marine (“SKK”) and SFK, INC. d/b/a SFK SECON (“SFK)
                                     J
                                 KKNH




and that the Plaintiff was directed and controlled in his work only by SKK/SFK and no other
                             4




person or entity including BVCT.
                           ^
                        TU




13.     By way of further Answer, BVCT hereby gives actual notice to the Plaintiff and all of the
                     (




parties that any and all documents produced during discovery may be used against the Plaintiff
                 NFQ
               KNH




and all other parties and any pretrial proceeding and/or trial of this matter without the necessity of
          TK




authenticating the document.
        :S




                                                 IV.

                                        Request for Jury Trial

        Defendant requests a trial by jury on all issues herein.
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 53 of 61




                                                  V.

                                               Prayer

        WHEREFORE,          PREMISES       CONSIDERED,         Defendant,    BUREAU        VERITAS

COMMODITIES AND TRADE, INC. f/k/a INSPECTORATE AMERICA CORPORATION,




                                                                                 P
                                                                              QJW
prays that the Court dismiss the Plaintiffs’ case and/or Plaintiffs take nothing by reason of this suit




                                                                           Y(
and that BUREAU VERITAS COMMODITIES AND TRADE, INC. f/k/a INSPECTORATE




                                                                       WNH
AMERICA CORPORATION be discharged of all liability herein.                     BUREAU VERITAS




                                                                    NXY
                                                                 X)
COMMODITIES AND TRADE, INC. f/k/a INSPECTORATE AMERICA CORPORATION




                                                             JX
further prays for such other and further relief, general and special, at law and in equity to which it



                                                          WL
may show itself justly entitled.
                                                       'Z
                                               Respectfully submitted,
                                                    S
                                                 NQ^

                                               ALLEN & GOOCH
                                              FW


                                               A LAW CORPORATION
                                          2
                                       TK




                                                /s/ John H. Hughes
                                     J




                                               JOHN H. HUGHES (TX Bar # 00795170)
                                   KKNH




                                               JohnHughes@allengooch.com
                                               ALAN J. MECHE (TX Bar #24025530)
                              4




                                               AlanMeche@AllenGooch.com
                           ^




                                               2000 Kaliste Saloom Road, Suite 400 (70508)
                        TU




                                               P.O. Box 81129
                     (




                                               Lafayette, LA 70598-1129
                                               Tel.: 337-291-1290
                  NFQ




                                               Fax: 337-291-1295
              KNH




                                               Attorneys for BUREAU VERITAS COMMODITIES
         TK




                                               AND TRADE, INC. f/k/a INSPECTORATE
       :S




                                               AMERICA CORPORATION
    Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 54 of 61




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing instrument has this day been

served on all parties through their counsel of record via email and by the Court’s electronic filing




                                                                               P
                                                                            QJW
system on this 19th day of March, 2020.




                                                                         Y(
        Vuk Vujasinovic (Texas Bar: 00794800)         Robert L. Klawetter (SBN 11554700)




                                                                     WNH
        Vuk@vbattorneys.com                           klawetter@easthamlaw.com
        Job Tennant (Texas State Bar 24106501)        Christina K. Schovajsa (SBN 24002910)




                                                                  NXY
        Job@vbattorneys.com                           Schovajsa@easthamlaw.com




                                                               X)
        Wade R. Quinn                                 Jared Cole Johnson




                                                           JX
        wquinn@ramey-chandler.com                     jjohnson@sjrm.com



                                                         WL
                                                     'Z
                                       /s/ John H. Hughes
                                                  S
                                               NQ^

                                       JOHN H. HUGHES
                                            FW
                                          2
                                      TK
                                    J
                                KKNH
                          ^ 4
                       TU
                    (
                 NFQ
              KNH
         TK
       :S
      Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 55 of 61



                                CAUSE NUM BER: 2019-71 794

 MUHAMMAD KAMRAN and ZAKIA •                         IN T HE DISTRICT COU RT OF
 KAMRAN                    •
                                              •
 VERSUS                                       *
                                              *      HARR IS COUNTY, TEXAS
 INSPECTORATE AMERICA CORP., •




                                                                                  P
                                                                               QJW
 EAGLE S HIP MANAGEMENT, LLC, *
 a nd SFK INC. d/b/a SKK MARINE •




                                                                            Y(
 and S KK SECON                      • COU RT: 165'" J UDI C IAL DISTRICT
•••••••••••••••••••••••••• *********** ••••••••••••••••••••••••••••••• • ** •• ** •••




                                                                        WNH
                                                                     NXY
STATE OF TEXAS




                                                                  X)
COUNTY OF HARRI S




                                                              JX
                                        VERIFI CATION




                                                           WL
         Before me, the undersigned notary, on thi s day personall y appeared Frank Riccardi , the
                                                           'Z
affi ant, whose identity is known to me. After I ad mini stered the oath, Frank Riccardi testified as
                                                       S
                                                   NQ^

fo ll ows:
                                              FW
                                           2




         "My name is Frank Riccardi . I am over the age of \8, of sound mind, and I have never been
                                        TK




co nvicted of a felony or cri me of moral turpitude. I am the Vice Pres ident O&P Operations
                                      J
                                  KKNH




Manage r for BUREAU VERITAS COMMOD ITIES AN D TRADE, INC. f/kla INS PECTORATE
                              4




AME RICA CORPORA l iON and capabl e of mak ing this verifi cation. I have read the attached
                            ^
                         TU




Verified Amended Answer to the Original, First and Second Amended Peti ti ons for Damages of
                      (




BUREAU VERITAS COMMOD ITI ES AN D TRADE, INC. f/kla INS PECTORATE AMER ICA
                     NFQ
                KNH




CORPORATION. The facts in the Veri fied Den ials are withi n my personal knowledge and are
               TK




true and co rrect"
             :S




                                     (Signatures on nex t pagel




                                                  I of 2
Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 56 of 61




                                                ~.t2
 Sworn to and subscribed before me by   8-0...("\ ~             Rlc..eard~      on March \q, 2020.




                                                                                  P
                                                                               QJW
                                                                            Y(
                                    Notary Publ ic               R.U\u.. &;:AIof'




                                                                        WNH
                                    State of .,-~




                                                                     NXY
                                    County of      \-Ia.(" r1 5
                                    My comm iss ion expires: Oo\;n\acw.l




                                                                  X)
                                                                JX
                                                        WL
                                                 ,""'''j,!'",
                                                l~~···~~.          RENEE DUNLAP
                                                ~.( ~,:.;
                                                'Z               MY COMMISSION EXPIRES
                                                >··;':':."_;i~i MARCH 27, 2021
                                                  --""""""" NOTARY 10; 3003467
                                            S
                                         NQ^
                                    FW
                                 2
                              TK
                            J
                        KKNH
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                TU
              (
           NFQ
        KNH
    TK
  :S




                                        2 of2
     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 57 of 61



                                CAUSE NUMBER: 2019,71794

 MUHAMMAD KAMRAN and                           *        IN THE DISTRICT COURT OF
 ZAKIA KAMRAN                                  *
                                               *
 VERSUS                                        *
                                               *        HARRIS COUNTY, TEXAS
                                               *




                                                                                  P
 INSPECTORATE AMERICA CO RI'"




                                                                               QJW
 EAGLE SH IP MANAGEMENT, LLC,                  *
 and SFK INC. d/ b/a SKK MARINE                *




                                                                            Y(
 and SKK SECON                                 *     COURT: 165'h J UDI C IAL DISTRICT




                                                                        WNH
*****************************************************************************




                                                                     NXY
         DEFENDANT BUREAU VERITAS COMMOD ITIES AND TRADE, INC.




                                                                  X)
           VERIFIED AMENDED ANSWER TO PLAINTIFFS' ORIGINAL,
            FIRST, AND SECOND AMENDED PETITION FOR DAMAGES
                       AND REQUEST FOR DISCLOSURE




                                                               JX
                                                             WL
       NOW INTO COU RT, through unde rsigned coun sel, comes BUREAU VER ITAS
                                                          'Z
COMMODITIES AN D T RADE, INC . f/kla INS PECTORATE AME RI CA CO RPORATION
                                                         S
                                                   NQ^

(here inafter "BVeT"), named as defendant herein, who Amends its answer to and in response to
                                               FW
                                           2




the Original, First and Second Amended Pet itions for Damages o f Muhammad Kamran and Zikia
                                        TK




Kamran (hereinafter " Plain tiffs") and who would respectfully represen ts that:
                                     J
                                 KKNH




                                                   I.
                               4




                                          General Denial
                                ^
                             TU




        BveT asserts a general denial   to the allegations contained in Plaintiffs' Original , First and
                       (




Second Amended Petition and Request for Disclosure in accordance with the rules, stat utes and the
                   NFQ
                KNH




Constitution of the State of Texas, and thereby demands that the Plaintiffs prove their case by the
           TK




requisite legal standards.
         :S




                                                   II.

                                          Verified Denials

I.      BVCT den ies that at no time materi al hereto did it own, charter, operate, or control the

M.V. Impe rial Eagle or Bunker Barge Shamrock 52.
     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 58 of 61




2.      BVeT denies that it employed Pl aintiff Muhammad Kalnran or contracted Plaintiff

Muhammad Kalnran for the work at issue.

3.      BVer denies that it directed Pl aintiff Muhammad Kamran or exercised actual control over




                                                                                   P
                                                                                QJW
Plaintiff Muhammad Kamran.




                                                                             Y(
4.      BVeT asseI1s that at all times material hereto it was insured against claims filed against it




                                                                         WNH
pursuant to the Longshore and Harbor Workers' Compensation Act, 33 U.S.c. § 90 1, et seq.




                                                                      NXY
                                                                   X)
                                                    III.




                                                                JX
                                         Affirmative Defenses




                                                             WL
5.      BVeT asserts that the Plaintiff caused or contributed to hi s own injuries and damages in
                                                           'Z
that he failed to exercise that degree of care imposed upon him by law and/or statute, thus rendering
                                                           S
                                                     NQ^

Plaintiff contributorily/comparatively negli gent, such that any claims asserted herei n by Plaintiff
                                                    FW
                                              2




should be reduced and/or barred in consequence thereof and in proportion thereto.
                                           TK




6.      BVeT further asserts that Pl ai ntiff fail ed to miti gate hi s damages and, consequently,
                                        J
                                    KKNH




engaged in conduct which exacerbated the damages sued upon herein.
                                4




7.      BVeT asserts that the injuries and damages, ifany, all eged by Plaintiff are caused andlo r
                              ^
                           TU




related to pre-existing and/or subsequent ly occurring medical , genet ic, and/or environmental
                       (




condit ions, substances, di seases or ill nesses.
                    NFQ
                KNH




8.      BVCT addi tionally asserts that if it is cast in judgment, it is entitled to have the fact finder
           TK




apportion fault under applicable law including but not limited to the benefits, protections and
         :S




immunities embodied in §33.00l el seq. of tile Texas Civil Practice and Remedies Code amended,

supp lemented and/or recodified.
      Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 59 of 61



9.      BVeT additionally asserts that Plainti ff is not entitled to punitive damages under the general

mariti me law based on the facts of this case. Alternatively, Defendant pleads the appl ication of

§4 1.00 1 el seq. of the Texas Civil Practice and Remedies Code amended, supplemented and/or

recodified if shown to be applicable.




                                                                                    P
                                                                                 QJW
10.     BVCT asserts in the alternative that if the Plaint iff is found to be its employee or contractor




                                                                              Y(
under the Longshore and Harbor Workers' Act, which is at all times denied, the Plaintiff's sole




                                                                          WNH
recovery from aVCT is for benefits and ex penses pursuant to the Longshore and Harbor Workers'




                                                                       NXY
                                                                    X)
Compensation Act.




                                                                JX
II.     In the alternat ive, aVCT asserts that the injury and damages complained of by the Plaintiff,




                                                             WL
ifnny, a re related to incidents or events unrelated to the even t on which hi s lawsuit is based and/or
                                                         'Z
was caused by the fault of third persons, parties or ent ities for whose act ions aVeT is not legally
                                                        S
                                                   NQ^

respons ible.
                                                FW
                                            2




12.     In the alternative, BVCT asserts that at all times material hereto the Plaintiff's employer or
                                          TK




contractor was SFK, Inc. d/b/a SKK Marine ("SKK") and SFK, INC. d/b/a SFK SECON ("SFK)
                                        J
                                   KKNH




and that the Plain tiff was directed and contro ll ed in hi s wo rk on ly by SKKJSFK and no other
                               4




person or entity including BVCT.
                             ^
                          TU




13.     a y way of furt her Answer, aVCT hereby gives actua l notice to the Plaintiff and a ll of the
                      (




parties that any and all documents produced during di scovery may be used against the Pl aintiff
                   NFQ
                KNH




and all other part ies and any pretrial proceeding and/or tria l of this matter without the necess ity of
           TK




authenticating the document.
         :S




                                                  IV.

                                        Requ es t for Jury T rial

        Defendant requests a trial by jury on all issues herein.
     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 60 of 61



                                                    V.

                                                 Prayer

        WHEREFORE,          PREMISES        CONS IDERED,         Defendant,     BUREAU         VER ITAS

COMMOD IT IES AND TRADE, INC. f/kla IN SPECTORATE AMERI CA CO RPORATION,




                                                                                     P
                                                                                  QJW
prays that the Court dismiss the Plainti ffs ' case and/or Plainti ffs take nothing by reason of this sui t




                                                                               Y(
and that BUREAU VERITAS COMMODIT IES AN D TRADE, INC. f/kla INS PECTORATE




                                                                           WNH
AMER ICA CORPORA TION be discharged of all liability here in.                     BUREAU VERITAS




                                                                        NXY
                                                                     X)
COMMODITIES AN D TRADE, INC. f/kla INS PECTORATE AMERICA CO RPORATION

further prays for such other and further relief, general and special, at law and in equity to whi ch it




                                                                 JX
                                                              WL
may show itself justly entitled.
                                                          'Z
                                                 Respectfu ll y submitted,
                                                         S
                                                    NQ^

                                                 AL LEN & GOOCH
                                                 FW


                                                 A LA W CORPORATION
                                             2
                                          TK
                                        J




                                                 JOHN H. HUGHES (TX Bar # 00795 I 70)
                                   KKNH




                                                 JohnHughes@al lengooch.com
                                                 A LAN J. MECHE (TX Bar #24025530)
                                4




                                                 AlanMeche@A ll enGooch.com
                             ^




                                                 2000 Kali ste Salaam Road, Suite 400 (7050 8)
                          TU




                                                 P.O. Box 8 1 129
                                                 Lafayette, LA 70598· I 129
                       (




                                                 Tel. : 337· 29 1·1 290
                    NFQ




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                                                 AND TRADE, INC. j lkla INS PECTORATE
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                                                 AMER ICA CORPORATION
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     Case 4:20-cv-01039 Document 1-1 Filed on 03/23/20 in TXSD Page 61 of 61




                                  CERTIF ICATE OF SERVICE

        I HERE BY CERTIFY that a co py orthe above and foregoing instrument has this day been

served on all part ies through their counsel of reco rd via emai l and by the Court's electronic fi ling




                                                                                   P
system on this 19th day of March, 2020.




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